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IN THE UNITED STATES DISTRICT COUR'I`
FOR THE DISTRICT OF MARYLAND

 

 

United States of America, *
*

v. Case No. ELH'14'271
Keyon Paylor *
Dei`endant. *

ENTRY OF APPEARANCE [N A CRIN[[NAL CASE

TO THE CLERK 0F THIS COURT AND ALL PARTIES OF RECORD:
Keyon Paylor

Enter my appearance as counsel in this case for the defendant,
l certify that: [check one that applies and cemplete]

 

I am admitted to practice in this Couxt.

|:| l am a member in good standing of the bar of the highest state court of

 

and familiar with the Federal Ru]es of Crimjnal Procedure, the Federal Rules of Evidence, the
Federal Rules of Appellate Procedure and the Local Ruies of this Couzt.

03/12/2018 y%¢ 994
E___ si@amr¢ y ’
Gay|e Horn, Bar No. 07182
Printed name and bar number
The Exoneration Project

Firrn name

 

 

311 N Aberdeen, 3rd F|oor
Address
gay|e@exonerationproject.org

Email address

31 2-789-4955

Telephone number

 

 

 

 

Fax number

Please select your designation:
|:| CJA

 
 

etained |:| Public Defender [:l Pro Bono

NOTE: Appearance o ounsel may be withdrawn only with leave of Court. See Local Rule 201 .3. Such leave
is liberally ted if sought within 14 days of the defendant’s initial appearance in this Court.

 

If you are mg a member of this Court's bar. email your completed form to MDD A Admissions mdd.useourts. ov.
Otherwise, please enter your own appearance in this case in CMIECF using the event Nodce of Appearance.

 

 

 

 

 

